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 5                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,             )
                                           )
 8                       Plaintiff,        )       CR-08-026-FVS-2
                                           )
 9        vs.                              )        ORDER
                                           )
10   FRAN OGREN,                           )
                                           )
11                       Defendant.        )
                                           )
12
           The Court having reviewed Defendant Fran Ogren’s                Motions to
13
     Modify Release Conditions; Now Therefore,
14
           IT IS HEREBY ORDERED, for good cause shown, that the
15
     Defendant’s Motions to Modify Release (Ct. Rec. 359) is GRANTED.
16
           Ms. Ogren shall be permitted to travel to Missoula, MT
17
     September 16th to September 21st, 2009 and then again to Canby, OR
18
     September 23rd to the 28th, 2009 for business and professional
19
     purposes.
20

21
                                   14th day of September 2009
                      Dated this _____
22

23
                            s/ Fred Van Sickle
                         _________________________________
24                          United States District Judge
25

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27
     Proposed Order                            1
